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                          l3olnestic nzanufacttlrcrs:111(1ilnportcrs,ilwluding tlw CijrarScller Dcfclulants,

     wcrc rcspollsiblclbrlz1 'ngtllcappropn'atc-l-1-PP paylnellts.7Cl'
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               88.        Progseun evasion ispullisllablcwitlllzzultiplc civilal1(lcrilnilutlpelutlticsrcferellccd

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             105. A silnporters,orentitieswhicllowll()rcontrolilnportcrs,tltc CigarSellcraI1(I

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             126. 11)otllcrwords,l?ld
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             127. ll-
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               132. A Cig;u-Scller llcl-
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             140. lnstcad,upon illlbrnuttion and bclief,tlle Ciga.
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     acrosstlle coulltryulldcrollc ()1-.
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             147. Sllow Cigarsisable to lnove a1lcllonnotls(ltlalltity oflargc cigarsatvery low llriccs

     because ofthe fee a.
                        11(1tax evasion descn'bed llcre.


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      111. D efendaxm 'U nlawfulEvasion ofFD A U serFees.'
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     l)aytllcirl-
                airslzarc.

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             154. '
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     tlzitn beardsattem pting to obscure tlzc realinzportcrs:the Cig-
                                                                    arSellcrand M anufacturer

     D efcndants.




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                      l-llisportion 01-tlle scllenze wllich isorcllcstratcd alld dirccted l)y tllc Cigar Scller

     and M antllhcttlrerDefclldalltsrctluiresal1(ldcpcllds011tlle Cig'
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              B.      D efendantsFm udulently Evade PP and FD A U serFeesby Chea ' on
                      FET and Fm udulendy Reporting 'zcially Ix w Prices
              156. '
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             B.      Fake Prices
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              190. Apparelltly notsatislicd witlltllistllllawfulfisaviltgs,''tllc lnlportcralulCigarScllcr

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     in thc IlnporterD clbzxlazzts.


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              193.     '
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             213. Also,l3cfendantFloritla Inzportl'
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             A.      M anufactllrer D efendantK nowledge
             220. T he CigarSellerand lm porterDefentlantsare notthe only ctlstolncrsscrviced l)y

     tllc M alm facturcrD cfelldants.




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             221. Ilulccd,atlcastolle ol-tllc M allulhrttlrerDelblulants'lloll-l3elkndant,custolners

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             222. N evcltlleless,tllc Cig-
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             223. 'rllisappitrentdiscrepallcy isexllliu-lletll)y tllc lowerpricesalxlhigllerlzxtrgillsthc

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             224. M r.Sillclairand llisenzployccshave ackllowledgcd aslnucll.

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             227. IfIlotlbrtllc lL-c ;tl1(1tax cvasion colzunittetll)y tlle Cig-
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             228. -l-l1e M mlufacturcrD efclxlpultsitre nzorc tllalltavtlollg lxtrticipallts,tllcyactively

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             B.      M anufacturer D efendnntsH elp Establish Im porter Cycling

             229. llntilapproxinzately 2016,the Cig-
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             230. l11lhct,tllc Ciga,
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     waslnucll(leepertllalljustarln'slengtllilnporterand scller.

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             231. Fora l)eri()(lol'tinzc,M r.Bryantopcratctlhisvariotlsbusinesscsotltol'D efelxlallt

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     Floritla colnpany known asM aqtlilutriasM .l(.luLC.

             238. DefelulantReycsVargus'sfanzily InclnbcrsM arlollRcycsa.
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Case 1:20-cv-24201-KMW Document 1 Entered on FLSD Docket 10/14/2020 Page 34 of 37




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             254. Alter Havana 59 attractctllaw clllklrccnw ntattcntiolland ccascd operatillg tllc

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              257. ln thisway,a sinzple scarclllbrrecordsrelatcd to anyparticularlnlporter

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Case 1:20-cv-24201-KMW Document 1 Entered on FLSD Docket 10/14/2020 Page 35 of 37




             258. -l-l'c M m lufact-urcrllefclxlantsarc willillg ;uztlactive participalltsaI1(l(-()-

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                                         (Al1Defendants)
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Case 1:20-cv-24201-KMW Document 1 Entered on FLSD Docket 10/14/2020 Page 36 of 37




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                                        (M Defendants)
             266. Relatorrepeatsand rc-al
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